8:18-cr-00127-BCB-SMB               Doc # 44   Filed: 06/13/18     Page 1 of 1 - Page ID # 103




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                       8:18CR127

       vs.
                                                                        ORDER
OMAR RODRIGUEZ LOPEZ,

                       Defendant.

       This matter is before the court on defendant's Unopposed Motion to Extend Time to File
Pretrial Motions [43]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 45-day extension. Pretrial motions shall be filed by
August 3, 2018.
       IT IS ORDERED:
       1.      Defendant's Unopposed Motion to Extend Time to File Pretrial Motions [43] is
granted. Pretrial motions shall be filed on or before August 3, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between June 19, 2018 and August 3, 2018, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
       Dated this 13th day of June, 2018.

                                                     BY THE COURT:


                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
